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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF OKLAHOMA

MARVIN M. WINTERS,                    )
                                      )
                  Plaintiff,          )
                                      )
v.                                    )    Case No. CIV-20-447-KEW
                                      )
CDN LOGISTICS, INC.; and              )
WANDA SUE DAVIS,                      )
                                      )
                  Defendants.         )

                      ADMINISTRATIVE CLOSING ORDER


      This Court acknowledges the filing of the Notice of Settlement

in this case, advising that the case has settled.             The parties,

however,    require   additional    time    to   finalize   the   settlement

documents.      In an effort to effectively manage this Court’s

calendar and prevent the unnecessary expenditure of resources by

the Court and the parties, this case will be administratively

closed pending the filing of the settlement documents in the case.

      IT IS THEREFORE ORDERED that the Clerk administratively close

this action in his records without prejudice to the rights of the

parties to reopen the proceedings for good cause shown, for the

entry of any stipulation, order, or judgment, for any other purpose

required to obtain a final determination of the proceedings, or

for any purpose designated in the settlement agreement between the

parties.     But, in any event, Plaintiff shall submit a judgment,

stipulation of dismissal, or other closing document no later than
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NOVEMBER 15, 2021.     Should Plaintiff fail to file one of these

documents by this date or seek an extension of the deadline for

submission, the case will be deemed dismissed in its entirety.

     IT IS SO ORDERED this 12th day of October, 2021.




                                  ______________________________
                                  KIMBERLY E. WEST
                                  UNITED STATES MAGISTRATE JUDGE




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